              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION
            CRIMINAL CASE NO. 3:07-cr-00211-MR-DCK-2


UNITED STATES OF AMERICA         )
                                 )
                                 )
         vs.                     )              ORDER
                                 )
                                 )
VICTORIA L. SPROUSE,             )
                                 )
                   Defendant.    )
________________________________ )


      THIS MATTER is before the Court sua sponte.

      This matter is currently scheduled for a sentencing hearing on April

15, 2014. Prior to sentencing, the Court will require the parties to brief the

issues of loss amounts and restitution.

      ACCORDINGLY,        IT   IS,   THEREFORE,       ORDERED        that      the

Government shall submit any documents regarding loss amounts and the

restitution to be sought, along with a memorandum setting out the

Government’s contentions regarding both issues, no later than April 4,

2014. The Defendant shall respond with any relevant documents and a

memorandum addressing these issues by April 10, 2014. The parties’




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memoranda shall be double-spaced and in 14-point font, and shall not

exceed fifteen (15) pages.

     IT IS SO ORDERED.               Signed: March 28, 2014




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